Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 1 of 46




             EXHIBIT 6
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 2 of 46




                                          U.S. Department of Health and Human Services
                                                           Food and Drug Administration
                                                Center for Drug Evaluation and Research
                                                         Office of Translational Sciences
                                                                   Office of Biostatistics


     STATISTICAL REVIEW AND EVALUATION

                 ANTIEPILEPTIC DRUGS AND SUICIDALITY


Drug Class:                   Antiepileptic drugs
Drug Names (NDA               Carbamazepine (21-710)
Numbers):                     Divalproex (18-723, 19-680, 21-168)
                              Felbamate (20-189)
                              Gabapentin (20-235, 20-882, 21-129, 21-216)
                              Lamotrigine (20-241, 20-764)
                              Levetiracetam (21-035, 21-505, 21-872)
                              Oxcarbazepine (21-014, 21-285)
                              Pregabalin (21-446)
                              Tiagabine (20-646)
                              Topiramate (20-505, 20-844)
                              Zonisamide (20-789)
Indication(s):                Epilepsy, psychiatric disorders, other
Date:                         23 May 2008
Biometrics Division:          Division of Biometrics 6
Statistical Reviewer:         Mark Levenson, Ph.D.
Statistical Team Leader:      C. George Rochester, Ph.D., RAC
Medical Division:             Division of Neurology Products
Clinical Team:                Evelyn Mentari, MD
                              Alice Hughes, MD
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                              Marc Stone, MD
Project Manager:              Jacqueline Ware, Pharm.D., RAC


Keywords: Epilepsy, psychiatric, bipolar, suicide, suicidality, meta-analysis



                                                                                        1
    Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 3 of 46




TABLE OF CONTENTS
List of Tables ...................................................................................................................... 3
List of Figures ..................................................................................................................... 4
Executive Summary ............................................................................................................ 5
   1.1     Overview............................................................................................................. 5
   1.2     Findings............................................................................................................... 5
   1.3     Conclusions......................................................................................................... 6
2     Introduction................................................................................................................. 7
   2.1     Background ......................................................................................................... 7
   2.2     Review Objectives .............................................................................................. 7
3     Data Sources ............................................................................................................... 7
   3.1     Data Requests...................................................................................................... 7
   3.2     Trial Summary .................................................................................................... 9
4     Methods..................................................................................................................... 12
   4.1     Endpoints .......................................................................................................... 12
   4.2     Analysis Population .......................................................................................... 13
   4.3     Subgroups and Special Populations .................................................................. 13
   4.4     Statistical Methods............................................................................................ 14
5     Patient Summary....................................................................................................... 16
   5.1     Drugs and Demographics.................................................................................. 16
   5.2     Discontinuation and Duration ........................................................................... 20
6     Findings..................................................................................................................... 22
   6.1     Suicidal Behavior or Ideation ........................................................................... 22
   6.2     Suicidal Behavior and Suicidal Ideation........................................................... 26
   6.3     Sensitivity Analysis .......................................................................................... 27
   6.4     Exploratory Analysis ........................................................................................ 32
7     Findings in Special/Subgroup Populations ............................................................... 35
   7.1     Drug Groups...................................................................................................... 35
   7.2     Trial Indication.................................................................................................. 37
   7.3     Demographics ................................................................................................... 39
8     Post-Hoc Analyses .................................................................................................... 45
   8.1     Lamotrigine Additional Data ............................................................................ 45
   8.2     Alternative Age Subgroups............................................................................... 47
9     Summary and Conclusions ....................................................................................... 47
   9.1     Review Summary.............................................................................................. 47
   9.2     Conclusions....................................................................................................... 49
10       References............................................................................................................. 49




                                                                                                                                     2
    Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 4 of 46




LIST OF TABLES
Table 1: Suicidality Events and Codes. .............................................................................. 8
Table 2: Antiepileptic Drugs under Review. ...................................................................... 9
Table 3: Indication Categories. ......................................................................................... 10
Table 4: Trials by Comparator Type and Drug................................................................. 11
Table 5: Trials by Indication Group and Therapy (Monotherapy, Adjunctive Therapy,
Other). ............................................................................................................................... 12
Table 6: Patients by Treatment Arm and Comparator Type............................................. 16
Table 7: Patients by Treatment Arm and Drug, Placebo-Controlled Trials. .................... 17
Table 8: Patients by Indication Group and Drug, Placebo-Controlled Trials................... 18
Table 9: Demographics by Treatment Arm, Placebo-Controlled Trials........................... 19
Table 10: Patients by Drug Class and Treatment Arm, Placebo-Controlled Trials.......... 20
Table 11: Patient Treatment Discontinuation and Duration by Treatment Arm, Placebo-
Controlled Trials. .............................................................................................................. 21
Table 12: Events by Type and Treatment Arm, Placebo-Controlled Trials. .................... 22
Table 13: Suicidal Behavior or Ideation Events and Patients by Drug, Placebo-Controlled
Trials. ................................................................................................................................ 23
Table 14: Suicidal Behavior or Ideation Hazard Estimates by Treatment Arm, Placebo-
Controlled Trials. .............................................................................................................. 32
Table 15: Events from Patients with Multiple Events, Placebo-Controlled Trials........... 34
Table 16: Placebo and Drug Suicidal Behavior or Ideation Event Rates and Risk
Difference by Indication, Placebo-Controlled Trials........................................................ 38




                                                                                                                                         3
    Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 5 of 46




LIST OF FIGURES
Figure 1: Mean Trial Duration by Treatment Arm, Placebo-Controlled Trials................ 21
Figure 2: Suicidal Behavior or Ideation Odds Ratio Estimates, Placebo-Controlled Trials.
........................................................................................................................................... 25
Figure 3: Suicidal Behavior versus Suicidal Ideation Odds Ratio Estimates, Placebo-
Controlled Trials. .............................................................................................................. 26
Figure 4: Suicidal Behavior or Ideation Risk Difference Estimates, Placebo-Controlled
Trials. ................................................................................................................................ 28
Figure 5: Suicidal Behavior or Ideation Rate Ratio Estimates, Placebo-Controlled Trials.
........................................................................................................................................... 31
Figure 6: Kaplan-Meier Suicidal Behavior or Ideation Incidence Curves by Treatment
Arm, Placebo-Controlled Trials........................................................................................ 33
Figure 7: Suicidal Behavior or Ideation Odds Ratio Estimates by Drug Group, Placebo-
Controlled Trials. .............................................................................................................. 36
Figure 8: Suicidal Behavior or Ideation Odds Ratio Estimates by Indication Group,
Placebo-Controlled Trials. ................................................................................................ 37
Figure 9: Suicidal Behavior or Ideation Odds Ratio Estimates by Age Group, Placebo-
Controlled Trials. .............................................................................................................. 40
Figure 10: Suicidal Behavior or Ideation Odds Ratio Estimates by Gender, Placebo-
Controlled Trials. .............................................................................................................. 41
Figure 11: Suicidal Behavior or Ideation Odds Ratio Estimates by Race Group, Placebo-
Controlled Trials. .............................................................................................................. 42
Figure 12: Suicidal Behavior or Ideation Odds Ratio Estimates by Setting, Placebo-
Controlled Trials. .............................................................................................................. 43
Figure 13: Suicidal Behavior or Ideation Odds Ratio Estimates by Location, Placebo-
Controlled Trials. .............................................................................................................. 44
Figure 14: Suicidal Behavior or Ideation Odds Ratio Estimates, Placebo-Controlled and
Low-Dose-Controlled Trials............................................................................................. 45
Figure 15: Suicidal Behavior or Ideation Odds Ratio Estimates with Additional
Lamotrigine Data, Placebo-Controlled Trials................................................................... 46
Figure 16: Suicidal Behavior or Ideation Odds Ratio Estimates by Post-Hoc Age Group,
Placebo-Controlled Trials. ................................................................................................ 47




                                                                                                                                            4
    Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 6 of 46




EXECUTIVE SUMMARY1
1.1 Overview
The Food and Drug Administration (FDA) concerned about the potential for elevated risk
of suicidality (suicidal behavior or ideation) from the use of antiepileptic drugs carried
out a meta-analysis of 11 drugs. Antiepileptic drugs are also used for indications other
than epilepsy including psychiatric disorders.

In March 2005, FDA sent letters to sponsors of antiepileptic drugs requesting that they
submit data from placebo-controlled trials for the FDA to review the possible association
of suicidality events and antiepileptic drugs. Letters in July 2005, May 2006, and January
2007 requested additional information to obtain the data necessary for the review. The
letters specified detailed instructions for the identification of suicidality events and the
format of the data to be submitted.

Prior to the analysis of the data, medical reviewers in the Division of Neurology and
statistical reviewers in the Quantitative Safety and Pharmacoepidemiology Group agreed
upon the definition of the research objectives, endpoints, study population, and subgroups
and upon the specification of the statistical methods. These elements were incorporated
into a statistical analysis plan prior to the review. The statistical methods maintained the
integrity of placebo-controlled trials. This allowed for trials to have different background
rates of events.

1.2 Findings
There were 199 placebo-controlled trials consisting of 27,863 patients in drug arms and
16,029 patients in placebo arms from 11 drugs that formed the primary analysis
population.

The average age of patients was 42 years. The majority of patients were female (55%),
white (79%), and from North American locations (61%). The placebo patients had
statistically higher treatment duration (77 days for placebo versus 73 days for drug).
There were no statistical differences among the baseline characteristics of the drug and
placebo patients for age, gender, race, and location.

There were 4 completed suicides among drug patients and none among placebo patients.
The majority of suicidality events for both drug and placebo patients were Suicidal
Ideation. The second most frequent type of event was Suicide Attempt. Without adjusting
for differences among trials, 0.37% of the drug patients had a Suicidal Behavior or
Ideation event versus 0.24% of the placebo patients.




1
 This review replaces the March 5, 2008 version. Two small discrepancies in the data have been corrected
for this version.


                                                                                                       5
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 7 of 46




Overall, patients who received an antiepileptic drug had statistically significant increased
risk of Suicidal Behavior or Ideation relative to placebo patients. The estimated overall
odds ratio (OR) of a drug patient experiencing a Suicidal Behavior or Ideation event
versus a placebo patient was 1.80 (95% CI: 1.24, 2.66). The results for individual drugs
were generally consistent with the overall result. Suicidal Behavior had a larger estimated
odds ratio [2.92 (95% CI: 1.44, 6.47)] than Suicidal Ideation [1.45 (95% CI: 0.93, 2.30)].
Sensitivity analyses showed that the results were robust to statistical methods and
differences in the treatment durations between the treatment groups.

Indication and location appeared to have the largest effects on the odds ratio among the
subgroups considered. The epilepsy indication subgroup had the largest estimated odds
ratio [3.53 (95% CI: 1.28, 12.10)] compared to the psychiatric indication subgroup [1.51
(95% CI: 0.95, 2.45)] and the other indication subgroup [1.87 (95% CI: 0.81, 4.76)].
However, the psychiatric indication subgroup had the largest placebo risk and the risk
difference for the psychiatric indications subgroup was the largest. The estimated odds
ratio for the Non-North American subgroup [4.53 (95% CI: 1.86, 13.18)] was notably
larger than that of the North American subgroup [1.38 (95% CI: 0.90, 2.13)].

The higher risk of events for the drug-treated patients was observed as early as 1 week
from initiating treatment until at least 24 weeks. After 24 weeks, it was not possible to
draw conclusions due to the scarcity of data beyond 24 weeks.

There was no obvious pattern in the drug effect with respect to age subgroups. Likewise,
there were no patterns with respect to subgroups based on gender, race, setting, and
prespecified drug groups (sodium channel blocking, GABAergic and GABAmimetric,
and carbonic anhydrase inhibitors).

1.3 Conclusions
In conclusion, antiepileptic drugs are associated with increased risk of suicidality relative
to placebo in randomized placebo-controlled trials. The effect appears consistent among
the group of 11 drugs. There are 1.9 per 1000 (95% CI: 0.6, 3.9) more antiepileptic drug
patients than placebo patients who experience Suicidal Behavior or Ideation. In terms of
adjusted risk estimates for the treatment groups, 0.43% of the drug patients experience
Suicidal Behavior or Ideation compared to 0.24% of the placebo patients.

There is no obvious subgroup of patients to which the increased risk is specifically
attributed. The increased risk was seen in almost all subgroups, although epileptic and
Non-North American patients may have higher relative risks.




                                                                                            6
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 8 of 46




2 INTRODUCTION
2.1 Background
The Food and Drug Administration (FDA) concerned about the potential for elevated risk
of suicidality (suicidal behavior or ideation) from the use of antiepileptic drugs carried
out a meta-analysis of 11 drugs. Antiepileptic drugs are also used for indications other
than epilepsy including psychiatric disorders. In March 2005 FDA initiated requests to
the sponsors of antiepileptic drugs for data to address the suicidality concern.

Prior to the analysis of the antiepileptic data, medical reviewers in the Division of
Neurology and statistical reviewers in the Quantitative Safety and
Pharmacoepidemiology Group agreed upon the definition of the research objectives,
endpoints, study population, and subgroups and upon the specification of the statistical
methods. These elements were incorporated into a statistical analysis plan prior to the
review.

This review replaces the March 5, 2008 version. Two small discrepancies in the data have
been corrected for this version.

2.2     Review Objectives
      1. Examine whether 11 antiepileptic drugs as a group are associated with increased
         risk of suicidality relative to placebo in randomized placebo-controlled trials.
      2. Examine whether the risk of suicidality varies by (a) individual drug, (b) drug
         subgroups, (c) indication subgroups, and (d) demographic subgroups.

3 DATA SOURCES
3.1 Data Requests
In March 2005, FDA sent letters to sponsors of antiepileptic drugs requesting that they
submit data from placebo-controlled trials for the FDA to review the possible association
of suicidality events and antiepileptic drugs. Sponsors of all drugs with available
registration trials were contacted. Letters in July 2005, May 2006, and January 2007
requested additional information to obtain the data necessary for the review. The letters
specified detailed instructions for the identification of suicidality events and the format of
the data to be submitted.

3.1.1 Trial Inclusion Criteria
The final directions to the sponsors called for the submission of data for all randomized
parallel-arm, placebo-controlled trials, regardless of indication and duration, with at least
30 patients total. Trials may have had active-control arms as well. In additional to
parallel-arm trials, data from the first period of cross-over trials that otherwise met the
trial inclusion criteria were also included. In addition to placebo-controlled trials, trials
with subtherapeutic comparator arms, known as “low-dose placebo” were to be included.
The low-dose controlled studies were not included in the primary analysis. The July 2005



                                                                                             7
    Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 9 of 46




FDA letter specified that studies with ongoing blinded treatment phases should not be
included.

3.1.2 Identification of Suicidality Events
FDA specified the procedure for the identification of suicidality events. The procedure
called for a search of “possibly suicide-related” adverse events (PSRAEs). The search
was to be strictly limited to events that occurred during the double-blind phase of
treatment, or within 1 day of stopping randomized treatment. All deaths and serious
adverse events (SAEs) were to be included as PSRAEs. In addition, events were
identified through a search of specified text-strings in the adverse event data. For each
PSRAE, a narrative was to be prepared.

Based on blinded versions of the narratives, the PSRAEs were to be classified into
mutually exclusive suicidality events using the approach employed in classification of
outcomes as implemented in the pediatric antidepressant analysis (Posner et al. 2007).
Table 1 gives the suicidality events. Sponsors were responsible for the classification of
events.


Table 1: Suicidality Events and Codes.
Event Code      Event
0               No Event
1               Completed suicide
2               Suicide attempt
3               Preparatory acts toward imminent suicidal behavior
4               Suicidal ideation
5               Self-injurious behavior, intent unknown
6               Not enough information, fatal
7               Not enough information, non-fatal




3.1.3 Dataset Definition
FDA specified the format of patient-level and trial-level datasets to be submitted. The
patient-level dataset was to have one record per event. Patients with multiple events were
to have multiple records in the dataset corresponding to each event. Patients without
events were to be assigned an event code of 0. The patient-level dataset included
variables for trial identification, patient identification, age, gender , race, setting of trial
(inpatient, outpatient, both), location of trial (North America, Non-North America),
treatment drug, event code, day of event, and discontinuation status. For location, FDA
did not specify the meaning of North America.

The trial-level dataset summarized and characterized the trial. This information included
indication, nominal duration, treatment arm sizes, inclusion and exclusion criteria,
dosage, and design features.


                                                                                               8
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 10 of 46




3.2 Trial Summary
Sponsors submitted datasets from 12 drug programs. One of these drugs, vigabatrin, is
not currently approved in the United States and was not part of the review. Table 2 gives
the names of the 11 drugs that were included in the review.


Table 2: Antiepileptic Drugs under Review.
 Drug              NDA Number
 Carbamazepine     21-710
 Divalproex        18-723, 19-680, 21-168
 Felbamate         20-189
 Gabapentin        20-235, 20-882, 21-129, 21-216
 Lamotrigine       20-241, 20-764
 Levetiracetam     21-035, 21-505, 21-872
 Oxcarbazepine     21-014, 21-285
 Pregabalin        21-446
 Tiagabine         20-646
 Topiramate        20-505, 20-844
 Zonisamide        20-789



The medical officer, Dr. Evelyn Mentari, Division of Neurology Products, performed
some initial data processing of the submitted patient-level datasets including:
   1. Checking the correctness of the data submission to the FDA instructions
   2. Concatenating the data from the 11 drug programs into a single dataset
   3. Removing trials based on exclusion criteria (described below)
   4. Reducing multiple events in a single day to a single event (described below)
   5. Removing patients under the age of 5
   6. Creating indication categories (described below)

Trials were excluded if the duration was less than 7 days, there were fewer than 20
patients in any arm, all patients were less than 5-years old, or the trial had a randomized
withdrawal design (including withdrawal to placebo).

For patients with multiple events on a single day, only the most critical event (based on
the event codes shown in Table 1) on the day was retained.




                                                                                              9
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 11 of 46




The medical officer categorized the numerous indications into 21 indication categories.
These 21 indication categories were further categorized into three categories: (1)
epilepsy, (2) psychiatric, and (3) other. Table 3 gives the 21 indication categories and
their further classification into three categories.


Table 3: Indication Categories.
Epilepsy                          Psychiatric                      Other
Epilepsy                          Anxiety                          Agitation
                                  Binge eating disorder            Chronic pain
                                  Bipolar disorder                 Fibromyalgia
                                  Depression                       Impaired cognition
                                  Panic disorder                   Insomnia
                                  Post-Traumatic Stress Disorder   Migraine
                                  Schizophrenia                    Neuropathy
                                  Social phobia                    Obesity
                                                                   Radiculopathy
                                                                   Spasticity
                                                                   Tremor
Note: The other indication category included volunteer studies.


The review was based on the datasets prepared by Dr. Mentari and provided on 7
November 2007.




                                                                                           10
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 12 of 46




Table 4 gives the number of trials by comparator type and drug. There were 210 trials. Of
these, 199 were placebo controlled and 11 were low-dose controlled. No study had both a
placebo arm and a low-dose arm. There were 23 trials that also had an active-control arm.


Table 4: Trials by Comparator Type and Drug.
                                      Number of Trials
Drug                     Placebo-        Low-Dose           Total
                         Controlled      Controlled
Carbamazepine                3               0               3

Divalproex                   13              1               14

Felbamate                    6               3               9
Gabapentin                   28              0               28

Lamotrigine                  27              2               29
Levetiracetam                21              0               21

Oxcarbazepine                10              1               11

Pregabalin                   38              1               39

Tiagabine                    6               0               6

Topiramate                   42              3               45

Zonisamide                   5               0               5
Total                       199              11             210




                                                                                      11
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 13 of 46




Table 5 gives the number of trials by indication group and therapy (monotherapy,
adjunctive therapy, and other). In the majority of epilepsy trials (81%), the drug was used
in combination with other therapies as adjunctive therapy. In contrast, in the majority of
psychiatric trials (86%), the drug was used as monotherapy.


Table 5: Trials by Indication Group and Therapy (Monotherapy, Adjunctive Therapy,
Other).
                                     Indication Group
                          Epilepsy      Psychiatric       Other          Total
                           N=73           N=56            N=81          N=210
 Therapy                   n (%)          n (%)           n (%)         n (%)
 Monotherapy              14 (19)         48 (86)        61 (75)        123 (59)
 Adjunctive Therapy       59 (81)         8 (14)         12 (15)        79 (38)
 Other                      0 (0)          0 (0)          8 (10)         8 (4)
Note: Other therapy includes trials with optional adjunctive therapy and a trial in which
one patient cohort received adjunctive therapy and one patient cohort did not receive
adjunctive therapy.



4 METHODS
The statistical analysis plan (SAP) including the definitions of the endpoints, study
population, subgroups, and statistical methods were prespecified prior to conducting the
review. As stated above, these definitions and specifications were chosen by medical
reviewers in the Division of Neurology and statistical reviewers in the Quantitative
Safety and Pharmacoepidemiology Group. Deviations from and additions to the SAP are
noted.

4.1   Endpoints

4.1.1 Primary Endpoint
The primary endpoint was Suicidal Behavior or Ideation. A patient had this endpoint if
the patient had any of the following suicidality events:
    • Completed suicide
    • Suicide attempt
    • Preparatory acts toward imminent suicidal behavior
    • Suicidal ideation

4.1.2 Secondary Endpoint
There were two secondary endpoints. A patient had the endpoint Suicidal Behavior if the
patient had any of the following suicidality events:
    • Completed suicide
    • Suicide attempt


                                                                                         12
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 14 of 46




   • Preparatory acts toward imminent suicidal behavior
A patient had the endpoint Suicidal Ideation if the patient had only a Suicidal Ideation
event. Note that the endpoint Suicidal Ideation was not part of the SAP.

4.2 Analysis Population
The primary analysis population was all patients in test drug and placebo arms from
placebo-controlled trials that met the trial and patient inclusion criteria described in
Section 3.2.

4.3   Subgroups and Special Populations

4.3.1 Drugs
Each drug was considered separately

4.3.2 Drug Groups
Three groups of drugs were considered. These groupings were chosen by the medical
officers from the Division of Neurology. Each group of drugs was compared to the
complementary group of drugs. Note that the drug groups are not mutually exclusive or
exhaustive.
1. Sodium Channel Blocking Drugs
    • Carbamazepine
    • Lamotrigine
    • Oxcarbazepine
    • Topiramate
    • Zonisamide
2. GABAergic Drugs and GABAmimetic Drugs
    • Divalproex
    • Gabapentin
    • Pregabalin
    • Tiagabine
    • Topiramate
3. Carbonic Anhydrase Inhibitors
    • Topiramate
    • Zonisamide

4.3.3 Trial Indication
Three indication groups were considered as defined in Table 3:
1. Epilepsy
2. Psychiatric Indications
3. Other Indications

4.3.4 Demographics
The following subgroup classes were considered:
1. Age
    • 5-17


                                                                                           13
     Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 15 of 46




      • 18-24
      • 25-30
      • 31-64
      • ≥ 65
2.    Gender
      • Male
      • Female
3.    Race
      • White Caucasian
      • Other
4.    Setting
      • Inpatient or Inpatient/Outpatient Combined
      • Outpatient
5.    Location
      • North America
      • Non-North America

The age subgroups were chosen to be the same as used in FDA analysis of the
antidepressant suicidality. Only two race subgroups were used because the overwhelming
majority of patients were white. “Other” for race included African American, Hispanic,
Asian, and other. For location, FDA did not specify the meaning of North America.

4.3.5 Comparator Type
The group of patients from low-dose-controlled trials was considered. This group was
compared to the primary analysis group of placebo-control trial patients and the group of
patients from both placebo-controlled and low-dose-controlled trials. For the analysis of
patients from both types of trials, the test drug patients were compared to the patients in
the corresponding trial control arm patients (placebo or low-dose).

4.4     Statistical Methods

4.4.1 Primary Method
The primary analysis method was the exact method for a stratified odds ratio and
associated 95% confidence interval (Cytel 2005, Ch. 19). The odds ratio was in terms of
patient units. The stratification factor was the trial.

4.4.2 Sensitivity Methods
Three sensitivity analyses were employed to examine the robustness of the primary
method.

4.4.2.1 Zero-Event Trials
The first sensitivity analysis examined the consequences of the fact that a large number of
the trials were expected to have no events. The exact method for a stratified odds ratio
does not make use of these trials. The Mantel-Haenszel risk difference and associated
confidence interval (Greenland and Robins 1985), which makes use of these trials, was



                                                                                         14
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 16 of 46




used for this sensitivity analysis. However, if there are no events for any trials, for
example in a subgroup, then the estimated variance will be zero. In this case, it is not
appropriate to use the variance estimate, and no estimate and confidence intervals were
presented.

4.4.2.2 Trial Heterogeneity
The second sensitivity analysis examined between-trial heterogeneity of the effect
measure. Zelen’s test (Cytel 2005, Ch. 19), an exact test, was used to test the hypothesis
of a common odds ratio. However, because of the small number of events, it was
expected that there would be little power to detect heterogeneity of the odds ratio across
trials. The result of the test was intended for qualitative purposes.

The trial weight of the Mantel-Haenszel odds ratio estimator was used to quantitatively
identify trials with large influence. The weight was equal to (control patients with
events)*(test patients without events)/(total patients). Trials with no events had a weight
of zero. For trials with events in one arm only, the weight was equal to (control patients
with events +0.5)*(test patients without events +0.5)/(total patients +2). Note that the
SAP incorrectly specified “+1” rather than “+2” in the denominator.

A generalized linear mixed model (GLMM) (McCulloch and Searle 2001) was used to
estimate the overall odds ratio in the presence of trial heterogeneity of the odds ratio. The
model used the binomial error distribution and logit link function. The model included
fixed effects for the trial and treatment effects and a random effect on the trial-level for
the treatment-trial interaction. The estimate and the 95% confidence interval of the
treatment effect were qualitatively compared to those from the primary method to
examine the effect of trial heterogeneity. The confidence interval of the variance
component of the random effect was also examined to evaluate trial heterogeneity.

4.4.2.3 Duration Differences
The third sensitivity method, which was not part of the SAP, examined the consequences
of the observed difference in treatment duration between the treatment arms. The method
was similar to the primary method, but used person-time rather than patients as the unit of
analysis (Cytel 2005, Ch. 15). Because the duration difference was small, an assumption
of constant hazards was not key.

4.4.3   Exploratory Methods

4.4.3.1 Time Pattern
Kaplan-Meier incidence curves were used to examine the time-pattern (hazard function)
of the Suicidal Behavior or Ideation events. For patients with multiple events, only the
most critical event was used. No stratification was employed in the analysis.




                                                                                           15
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 17 of 46




4.4.3.2 Demographics, Duration and Discontinuation
Differences in treatment arms within trials of demographics, treatment duration, and
premature discontinuation of patients were examined. For categorical variables, p-values
for differences between treatment groups were based on the Cochran-Mantel-Haenszel
test stratifying on trial. For continuous variables, p-values and least-squares means were
based on a 2-way ANOVA controlling for trial.

4.4.3.3 Multiple Events
For each patient that had multiple events, the events were summarized.

4.4.4 Missing values
There were no missing values allowed for trial, treatment arm, and event codes.
Therefore, the primary analysis was not be affected by missing values. For each subgroup
analysis, all patients with the necessary information to determine the subgroup
membership were used.

4.4.5 Statistical Significance
Statistical significance refers to a two-sided type 1 error of 0.05. Because the analysis
was exploratory in nature, no adjustments for multiplicity were be made.

5 PATIENT SUMMARY
5.1 Drugs and Demographics
Table 6 gives the number of patients by treatment arm and comparator type (placebo-
controlled versus low-dose-controlled). Overall, there were 43,892 patients in the placebo
and the drug arms from placebo-controlled trials. There were more patients in the drug
arms (27,863) than in the placebo arms (16,029) for these trials. There were 1,587
patients from low-dose-controlled trials. Not included in the table were an additional
1,997 patients from active-control arms among the placebo-controlled and low-dose-
controlled trials.


Table 6: Patients by Treatment Arm and Comparator Type.
                                      Treatment Arm
                                                        Low-Dose
Comparator Type            Drug          Placebo         Placebo          Total
Placebo-Controlled        27863           16029             0            43892

Low-Dose Controlled         788             0              799            1587

Total                     28651           16029            799           45479




                                                                                            16
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 18 of 46




Table 7 gives the number of patients by treatment arm and drug for placebo-controlled
trials. The drugs topiramate and pregabalin accounted for approximately half of the
overall patients: 27% for topiramate and 24% for pregabalin.


Table 7: Patients by Treatment Arm and Drug, Placebo-Controlled Trials.
                                    Treatment Group
 Drug                     Drug          Placebo         Total
                        N = 27863      N = 16029      N = 43892
                          n (%)          n (%)          n (%)
 Carbamazepine            252 (1)       250 (2)        502 (1)
 Divalproex              1327 (5)       992 (6)        2319 (5)

 Felbamate                170 (1)       170 (1)        340 (1)
 Gabapentin             2903 (10)      2029 (13)      4932 (11)

 Lamotrigine            2865 (10)      2070 (13)      4935 (11)
 Levetiracetam           2554 (9)      1549 (10)       4103 (9)

 Oxcarbazepine           1342 (5)       827 (5)        2169 (5)

 Pregabalin             7201 (26)      3125 (19)      10326 (24)

 Tiagabine                835 (3)       608 (4)        1443 (3)
 Topiramate             7742 (28)      3971 (25)      11713 (27)

 Zonisamide               672 (2)       438 (3)        1110 (3)




                                                                                        17
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 19 of 46




Table 8 gives the number of patients by indication group and drug. Seven of the 11 drugs
had patients in all three indication groups. Large percentages of gabapentin and
topiramate patients were in the Other Indication group (non-epilepsy, non-psychiatric).
Overall, the Other Indication group had the most patients with 48% of the patients. The
Epilepsy and Psychiatric Indication groups had similar percentages of the patients to each
other with roughly 25% of the patients each.


Table 8: Patients by Indication Group and Drug, Placebo-Controlled Trials.
                                      Indication Group
 Drug                     Epilepsy       Psychiatric       Other          Total
                          n (n/N%)        n (n/N%)       n (n/N%)          N
 Carbamazepine              0 (0)        502 (100)         0 (0)           502

 Divalproex                147 (6)       1285 (55)        887 (38)        2319

 Felbamate                340 (100)         0 (0)          0 (0)           340

 Gabapentin               1485 (30)       331 (7)        3116 (63)        4932
 Lamotrigine              1408 (29)      2313 (47)       1214 (25)        4935
 Levetiracetam            1634 (40)      1609 (39)        860 (21)        4103

 Oxcarbazepine            1110 (51)       115 (5)         944 (44)        2169

 Pregabalin               1685 (16)      3204 (31)       5437 (53)        10326
 Tiagabine                939 (65)        504 (35)         0 (0)          1443

 Topiramate               1346 (11)      1933 (17)       8434 (72)        11713

 Zonisamide               848 (76)          0 (0)         262 (24)        1110
 Total                   10942 (25)      11796 (27)      21154 (48)       43892



Table 9 gives the demographics of the patients by treatment arm. For age, gender, race,
and location there were no statistically significant differences between the treatment
arms. P-value for setting could not be calculated due to the sparseness of the data, but the
observed percentages were similar between the treatment arms.

The least-squares means for age was 42 for both treatment arms. The least-squares means
control for differences among the trials and are more appropriate measures than the
ordinary means in the context of the meta-analysis, which controls for differences among
the trials. Roughly 5% of the patients were under the age of 18 and 13% of the patients
were age 65 or older. A majority of the patients were female (55%). A large majority of
the patients were white Caucasian (79%). A large majority of patients had out-patient
treatment only (92%) and a majority of the patients were in North America (61%).




                                                                                          18
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 20 of 46




Table 9: Demographics by Treatment Arm, Placebo-Controlled Trials.
                                          Drug           Placebo        Total
 Characteristic                           N=27863        N=16029        N=43892        P-Value
 Age (Years)       5-17                   1292 (5)       1119 (7)       2411 (5)
                   18-24                  2126 (8)       1296 (8)       3422 (8)
                   25-30                  2633 (9)       1568 (10)      4201 (10)
                   31-64                  18157 (65)     9990 (62)      28147 (64)
                   ≥ 65                   3653 (13)      2056 (13)      5709 (13)      0.2745
                   Missing                2 (0)          0 (0)          2 (0)


                   Mean (Std.)            45 (17)        43 (18)        44 (17)
                   Least-Squares Mean     42             42                            0.2184
                   Range (Min – Max)      (5 -100)       (5 – 99)       (5 – 100)


 Gender            Female                 15586 (56)     8686 (54)      24272 (55)
                   Male                   12276 (44)     7343 (46)      19619 (45)     0.6557
                   Missing                1 (0)          0 (0)          1 (0)


 Race              White Caucasian        22302 (80)     12541 (78)     34843 (79)
                   Other                  3588 (13)      2264 (14)      5852 (13)      0.1703
                   Missing                1973 (7)       1224 (8)       3197 (7)


 Setting           Inpatient or Both      1893 (7)       1411 (9)       3304 (8)
                   Outpatient             25970 (93)     14618 (91)     40588 (92)     NA
                   Missing                0 (0)          0 (0)          0 (0)


 Location          North America          16841 (60)     9941 (62)      26782 (61)
                   Non-North America      11022 (40)     6088 (38)      17110 (39)     0.9523
                   Missing                0 (0)          0 (0)          0 (0)
Notes: Results for categorical variables are expressed as counts and percentages of
treatment arm. P-values for categorical variables are based on Cochran-Mantel-Haenszel
test controlling for trial. P-values and least-squares means for continuous variables are
based on 2-way ANOVA controlling for trial. P-value for setting could not be calculated
due to the sparseness of the data.




                                                                                       19
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 21 of 46




Table 10 gives the number of patients for the three drug groups. No p-values are available
because drug class does not vary within a trial. As stated in Section 4.3, the three drug
groups are not mutually exclusive. Drugs and therefore patients appear in multiple drug
groups.


Table 10: Patients by Drug Class and Treatment Arm, Placebo-Controlled Trials.
                                                   Drug            Placebo        Total
 Drug Group                                        N=27863         N=16029        N=43892
 Sodium Channel Blocking               Yes         12873 (46)      7556 (47)      20429 (47)
                                       No          14990 (54)      8473 (53)      23463 (53)


 GABAergic and GABAmimetic             Yes         20008 (72)      10725 (67)     30733 (70)
                                       No          7855 (28)       5304 (33)      13159 (30)


 Carbonic Anhydrase Inhibitors         Yes         8414 (30)       4409 (28)      12823 (29)
                                       No          19449 (70)      11620 (72)     31069 (71)




5.2 Discontinuation and Duration
Table 11 gives the treatment discontinuation status and the duration by treatment arm. A
statistically significant larger percentage of drug patients discontinued prematurely than
placebo patients. The placebo patients had a statistically significant larger least-squares
mean for duration than drug patients. However, the drug patients had a larger ordinary
mean for duration than the placebo patients.

The difference in results between the least-squares means and the ordinary means is
influenced by a single trial. Figure 1 plots for each trial, the mean placebo duration versus
the mean drug duration. The overall consistency of the durations within trials is seen by
the fact that most trials fall near the 45-degree line. The trial with the largest durations
(topiramate OBES002) had a large imbalance of patients between the arms: 960 drug
patients and 322 placebo patients. This imbalance in arm sizes had large influence on the
ordinary means. Removing this trial, the ordinary means were more similar, 82 days for
each arm. Overall, for 131 of the 199 trials, the placebo arm had a higher duration than
the drug arm.

Since the meta-analysis controlled for differences in trials, the least-squares means are
more appropriate to examine differences in duration. The least-squares means show that
the placebo patients had larger durations (77 days for placebo versus 73 days for drug). If
events were related to duration, the placebo patients may be expected to have more
events independent of any treatment effect. The person-time analysis described in Section
4.4, which was not part of the Statistical Analysis Plan, was performed to account for the
possibility of a duration effect.



                                                                                          20
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 22 of 46




Table 11: Patient Treatment Discontinuation and Duration by Treatment Arm, Placebo-
Controlled Trials.
                                                  Drug                Placebo         Total
 Characteristic                                   N=27863             N=16029         N=43892      P-Value
 Discontinue                No                    17889 (64)          11118 (69)      29007 (66)
                            Yes                   9974 (36)           4911 (31)       14885 (34)   <.0001
                            Missing               0 (0)               0 (0)           0 (0)


 Duration (Days)            Mean (Std.)           90 (89)             87 (78)         89 (85)
                            Least-Squares Mean    73                  77                           <.0001
                            Range (Min – Max)     (0 – 575)           (1 – 582)       (0 – 582)
                            Missing               9                   8               17
Notes: Results for categorical variables are expressed as counts and percentages of
treatment arm. P-values for categorical variables are based on Cochran-Mantel-Haenszel
test controlling for trial. P-values and least-squares means for continuous variables are
based on 2-way ANOVA controlling for trial.
                            350
                            300
                            250




                                                                Topiram ate OBES002
                            200
                  Placebo

                            150
                            100
                            50
                            0




                                  0   50   100   150      200   250       300   350

                                                   Drug

Figure 1: Mean Trial Duration by Treatment Arm, Placebo-Controlled Trials.




                                                                                                   21
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 23 of 46




6 FINDINGS
6.1 Suicidal Behavior or Ideation
Table 12 gives the number of patients with a Suicidal Behavior or Ideation event by type
of event and treatment arm. There were 4 completed suicides among patients in the drug
arms and none among patients in the placebo arms. Of the 4 completed suicides, 2 were
in the Epilepsy Indication subgroup and 2 were in the Psychiatric Indication subgroup.
The majority of events for both arms were Suicidal ideation. The second most frequent
type of event for both arms was Suicide Attempt. Note that as seen on Table 6, there were
more drug patients than placebo patients. Without adjusting for differences among trials,
0.37% of the drug patients had a Suicidal Behavior or Ideation event versus 0.24% of the
placebo patients. Of the 199 placebo-controlled trials, 66 (33%) had at least one Suicidal
Behavior or Ideation event in the test drug or placebo arms.


Table 12: Events by Type and Treatment Arm, Placebo-Controlled Trials.
 Event                      Drug         Placebo          Total
 Completed suicide           4               0              4
 Suicide attempt             30              8             38
 Preparatory acts            3               1              4
 Suicidal ideation           67             29             96
 Total                      104             38             142
Notes: Events include only the most critical event for each patient.




                                                                                       22
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 24 of 46




Table 13 gives the number of patients with a Suicidal Behavior or Ideation event, the
number of patients, and the crude odds ratios by drug. The drug felbamate had no events
and therefore the odds ratio for the drug is not defined. The drug tiagabine had events
only in the drug arm and therefore the odds ratios for this drug was infinity. No drug had
events only in the placebo arm. The range of the finite crude odds ratios was from 0.66 to
2.57.


Table 13: Suicidal Behavior or Ideation Events and Patients by Drug, Placebo-Controlled
Trials.
                           Drug             Placebo
 Drug                  Events/Patients   Events/Patients   Crude OR
 Carbamazepine              2/252            3/250            0.66

 Divalproex                11/1327           9/992            0.91

 Felbamate                  0/170            0/170             ND
 Gabapentin                 2/2903           1/2029           1.40

 Lamotrigine               27/2865          11/2070           1.78

 Levetiracetam              8/2554           2/1549           2.43
 Oxcarbazepine              2/1342           1/827            1.23

 Pregabalin                 7/7201           2/3125           1.52

 Tiagabine                  2/835            0/608             Inf.
 Topiramate                40/7742           8/3971           2.57

 Zonisamide                 3/672            1/438            1.96

 Total                    104/27863         38/16029          1.58

Notes: Events include only most critical event for each patient.
ND: Not defined. Inf.: Infinity.




                                                                                        23
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 25 of 46




Figure 2 gives a forest plot of the estimated odds ratios and 95% confidence intervals for
Suicidal Behavior or Ideation by drug and overall. The estimated overall odds ratio was
1.80 (95% CI: 1.24, 2.66). The odds ratio was greater than 1 and the confidence interval
did not contain the value of 1. Therefore, the drugs were associated with statistically
significant increased risk of Suicidal Behavior or Ideation events relative to placebo.

Based on the overall odds ratio estimate and the observed rate of 0.24% for Suicidal
Behavior or Ideation events among placebo patients, there was an estimated 1.9 per 1000
(95% CI: 0.6, 3.9) more antiepileptic drug patients than placebo patients who experienced
Suicidal Behavior or Ideation in placebo-controlled trials. In terms of adjusted risk
estimates for the treatment groups, 0.43% of the drug patients experienced Suicidal
Behavior or Ideation compared to the 0.24% of placebo patients.

Among the 10 drugs with any events, the estimated odds ratios for 8 drugs were greater
than 1. For 2 of these 8 drugs, the confidence interval did not contain the value of 1.




                  Drug                                            OR (95% CI) [Sample Sizes]*
         Carbam azepine                                           0.65 (0.08, 4.42) [2/252 3/250]

              Divalproex                                          0.72 (0.29, 1.84) [11/1327 9/992]

             Felbam ate                                           ND. (ND., ND.) [0/170 0/170]

            Gabapentin                                            1.57 (0.12, 47.66) [2/2903 1/2029]

            Lam otrigine                                          2.08 (1.03, 4.40) [27/2865 11/2070]

          Levetiracetam                                           2.75 (0.62, 19.36) [8/2554 2/1549]

          Oxcarbazepine                                           1.91 (0.15, 56.33) [2/1342 1/827]

             Pregabalin                                           1.88 (0.41, 13.58) [7/7201 2/3125]

              Tiagabine                                           inf (0.20, inf) [2/835 0/608]

             Topiram ate                                          2.53 (1.21, 5.85) [40/7742 8/3971]

            Zonis am ide                                          2.52 (0.26, 67.94) [3/672 1/438]



                 Overall                                          1.80 (1.24, 2.66) [104/27863 38/16029]




                           0.1   0.3       1        3.2   10

                                       Odds Ratio
                                                               *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 2: Suicidal Behavior or Ideation Odds Ratio Estimates, Placebo-Controlled Trials.




                                                                                                              24
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 26 of 46




6.2 Suicidal Behavior and Suicidal Ideation
Figure 3 gives the overall odds ratio estimates for the two endpoints: (1) Suicidal
Behavior and (2) Suicidal Ideation. The odds ratio estimate for Suicidal Behavior was
greater than the odds ratio for Suicidal Ideation. The confidence interval for Suicidal
Behavior did not contain the value of 1, whereas the confidence interval for Suicidal
Ideation contained the value of 1.




             Endpoint                                              OR (95% CI) [Sample Sizes]*



        Suicidal Behavior                                          2.92 (1.44, 6.47) [37/27863 9/16029]




        Suicidal Ideation
                                                                   1.45 (0.93, 2.30) [67/27863 29/16029]
                    Only




        Suicidal Behavior
                                                                   1.80 (1.24, 2.66) [104/27863 38/16029]
              or Ideation




                            0.1   0.3       1        3.2   10

                                        Odds Ratio
                                                                *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 3: Suicidal Behavior versus Suicidal Ideation Odds Ratio Estimates, Placebo-
Controlled Trials.



6.3   Sensitivity Analysis

6.3.1 Zero-Event Trials
Figure 4 gives the estimated risk differences and 95% confidence intervals for Suicidal
Behavior or Ideation by drug and overall. Unlike the odds ratio analysis, this risk
difference analysis makes uses of trials without any events.




                                                                                                               25
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 27 of 46




The overall risk difference was 1.79 (95% CI: 0.70, 2.87) per 1000 patients. The risk
difference was greater than 0 and the confidence interval did not contain the value of 0.
As was the case, for the odds ratio analysis, this result supports the finding that the drugs
were associated with statistically significant increased risk of Suicidal Behavior or
Ideation events relative to placebo. For each of the 11 drugs, the risk difference estimate
had the same direction as the odds ratio estimate relative to the null value of no effect.




                  Drug                                                       RD (95% CI) [Sample Sizes]*
         Carbam azepine                                                      -4.16 (-21.34, 13.03) [2/252 3/250]

              Divalproex                                                     -2.75 (-10.68, 5.17) [11/1327 9/992]

             Felbam ate                                                      ND. (ND., ND.) [0/170 0/170]

            Gabapentin                                                       0.28 (-1.37, 1.92) [2/2903 1/2029]

            Lam otrigine                                                     5.40 (0.24, 10.57) [27/2865 11/2070]

          Levetiracetam                                                      2.13 (-0.54, 4.80) [8/2554 2/1549]

          Oxcarbazepine                                                      0.97 (-2.47, 4.41) [2/1342 1/827]

             Pregabalin                                                      0.52 (-0.77, 1.81) [7/7201 2/3125]

              Tiagabine                                                      2.43 (-0.99, 5.85) [2/835 0/608]

             Topiram ate                                                     3.05 (0.98, 5.11) [40/7742 8/3971]

            Zonis am ide                                                     3.09 (-3.80, 9.98) [3/672 1/438]



                 Overall                                                     1.79 (0.70, 2.87) [104/27863 38/16029]




                           -15     -10    -5    0      5    10       15

                                 Risk Difference per 1000 Subjects
                                                                          *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 4: Suicidal Behavior or Ideation Risk Difference Estimates, Placebo-Controlled
Trials.



6.3.2 Trial Heterogeneity
The primary analysis method was a fixed-effect method. Fixed effect methods assume
that all the trials had a common treatment effect. The p-value based on Zelen’s test for
the null hypothesis that all trials had a common odds ratio test was 0.735. This value does
not provide evidence for trial heterogeneity in the odds ratio. However, the lack evidence
does not imply that there was no trial heterogeneity.

The general linear mixed model (GLMM) that allows for trial heterogeneity produced an
overall odds ratio estimate of 1.86 (95% CI: 1.24, 2.78). Both the estimate and the


                                                                                                                         26
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 28 of 46




confidence interval were very similar to those from the primary analysis method. The
similarity implies that trial heterogeneity was not a major concern. The variance
component estimate for the trial heterogeneity effect from the GLLM was 0.13 with a
standard error of 0.26. The scale of the component is complex. However, the fact that the
estimate was small relative to its standard error again does not provide evidence for trial
heterogeneity.

The Mantel-Haenszel odds ratio weights were calculated to examine if there were trials
with large influence on the overall odds ratio estimate. On a normalized scale such that
the weights add to one, the largest five weights were 0.060, 0.020, 0.019, 0.017, and
0.016. The weight of 0.06 corresponded to the trial divalproex M92822. Except for this
trial, no trial accounted for more than one fiftieth of the total weight. The overall odds
ratio estimated using the exact method and excluding this trial was 2.12 (95% CI: 1.42,
3.25). This estimate was slightly larger than the estimate with all the trials. However, the
two sets of estimates and confidence intervals were qualitatively similar.




                                                                                          27
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 29 of 46




6.3.3 Person-Time Analysis
Based on the finding that there was a statistically significant difference in treatment
duration between the treatment arms (least-squares means 77 days for placebo versus 73
days for drug), an analysis that adjusts for differences in duration was performed. Figure
5 gives the estimated rate ratio and 95% confidence intervals from this analysis for
Suicidal Behavior or Ideation by drug and overall. The overall rate ratio was 1.82 (95%
CI: 1.25, 2.68). This result was very similar to the overall odds ratio result, which does
not adjusted for difference in treatment duration. Additionally, for each of the 11 drugs,
the rate estimate was very similar to the odds ratio estimate.




                  Drug                                            OR (95% CI) [Sample Sizes]*
         Carbam azepine                                           0.64 (0.08, 4.30) [2/251 3/248]

              Divalproex                                          0.64 (0.26, 1.63) [11/1327 9/992]

             Felbam ate                                           ND. (ND., ND.) [0/169 0/170]

            Gabapentin                                            1.49 (0.11, 44.82) [2/2903 1/2029]

            Lam otrigine                                          2.14 (1.07, 4.52) [27/2865 11/2070]

          Levetiracetam                                           2.84 (0.64, 19.93) [8/2554 2/1549]

          Oxcarbazepine                                           1.99 (0.15, 58.71) [2/1342 1/827]

             Pregabalin                                           1.95 (0.42, 14.07) [7/7201 2/3125]

              Tiagabine                                           inf (0.22, inf) [2/829 0/603]

             Topiram ate                                          2.61 (1.25, 6.03) [39/7740 8/3970]

            Zonis am ide                                          2.66 (0.28, 71.03) [3/672 1/438]



                 Overall                                          1.82 (1.25, 2.68) [103/27853 38/16021]




                           0.1   0.3       1        3.2   10

                                       Rate Ratio
                                                               *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 5: Suicidal Behavior or Ideation Rate Ratio Estimates, Placebo-Controlled Trials.
Note: 18 Patients with missing or zero duration were not included in this analysis.




                                                                                                              28
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 30 of 46




6.4     Exploratory Analysis

6.4.1 Time-to-Event Analysis
Table 14 shows the number of patients with a Suicidal Behavior or Ideation event and the
estimated hazards by disjoint time intervals. The higher hazard of events for the drug-
treated patients was observed as early as 1 week from initiating treatment until at least 24
weeks. After 24 weeks, it was not possible to draw conclusions due to the scarcity of data
beyond 24 weeks. It appears that the drug effect existed over an extended period and not,
for example, just at the initiation of the treatment.

Figure 6 plots Kaplan-Meier incidence curves for the Suicidal Behavior or Ideation
events by treatment arm. The spreading of the two curves, at least up to 24 weeks, shows
that the higher hazard for the drug patients existed over a period of time.

For the time-to-event analysis as in the other analyses, the first most critical event was
used. For all but one patient, this was the first event as well. One patient had a lesser
critical event 2 days earlier that the most critical event.


Table 14: Suicidal Behavior or Ideation Hazard Estimates by Treatment Arm, Placebo-
Controlled Trials.
                          Drug                              Placebo
 Week         Events     Patients    Hazard      Events     Patients    Hazard
 <1             10        27337       0.37          5        15780        0.32
 1-2            13        26077       0.50          4        15192        0.26
 2-4            27        23979       0.56         11        14029        0.39
 4 - 12         34        17591       0.24         14        10312        0.17
 12 - 24        12        8139        0.12          3         4592        0.05
 ≥ 24           7         1862        0.05          1         886         0.02

Notes: Events include only the most critical event for each patient. Patients are “effective
sample size” which is the estimated number of patients at the midpoint of interval.
Hazard is expressed as events per 1000 patient-weeks. For details see Klein and
Moeschberger (2003, p. 152).




                                                                                             29
               Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 31 of 46




                       0.015


                                                                                         Drug
Cumulative Incidence

                       0.010
                       0.005




                                                                               Placebo
                       0.000




                               0             12     24             36     48                    60

                       Num ber At Ris k                  Weeks
                           27854          12549   3716           1610   1178               494       Drug
                           16021           7410   1770            714    465               153       Placebo


Figure 6: Kaplan-Meier Suicidal Behavior or Ideation Incidence Curves by Treatment
Arm, Placebo-Controlled Trials.




                                                                                                               30
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 32 of 46




6.4.2 Multiple Events
Among the placebo-controlled trials, 9 patients had more than one Suicidal Behavior or
Ideation event. Table 15 lists the events for these patients. One patient had two suicide
attempts. Another patient had one suicide attempt. The events of the remaining 7 patients
were all suicidal ideation.


Table 15: Events from Patients with Multiple Events, Placebo-Controlled Trials.
 Patient                                     Event                  Event Day
 Carbamazepine 105.301 004004                Ideation               11
                                             Ideation               12
 Divalproex M92822 13709                     Ideation               44
                                             Ideation               234
 Divalproex M96493 20101                     Ideation               17
                                             Suicide attempt        19
 Lamotrigine P42040 37004                    Ideation               5
                                             Ideation               75
                                             Ideation               83
                                             Ideation               88
 Lamotrigine SCA3092/0946 63307              Ideation               56
                                             Ideation               78
 Lamotrigine SCAA2010 03168                  Suicide attempt        23
                                             Suicide attempt        30
 Topiramate CAPSS168 00013403                Ideation               25
                                             Ideation               56
 Topiramate OBES002 7123                     Ideation               51
                                             Ideation               82
 Topiramate PDMD005 10004                    Ideation               1
                                             Ideation               11




                                                                                       31
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 33 of 46




7 FINDINGS IN SPECIAL/SUBGROUP POPULATIONS
7.1 Drug Groups
Figure 7 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by drug group. The estimated odds ratio for each drug group and its
complement were all greater than one. Except for the group made of drugs that are not in
the Sodium Channel Blocking group, the confidence intervals for all drug groups did not
contain the value of 1. As stated above, the three drug groups are not disjoint. Topiramate
is in all three drugs groups, and there were a large number of patients from topiramate
trials. Therefore, treatment effects of topiramate can be expected to have large influence
on all three drugs classes.




                   Drug                                            OR (95% CI) [Sample Sizes]*

      Na Channel Blocking                                          2.08 (1.31, 3.39) [74/12873 24/7556]


  Non-Na Channel Blocking                                          1.33 (0.70, 2.61) [30/14990 14/8473]


                    GABA                                           1.68 (1.02, 2.88) [62/20008 20/10725]


               Non-GABA                                            1.94 (1.12, 3.47) [42/7855 18/5304]


                 Carbonic                                          2.53 (1.25, 5.56) [43/8414 9/4409]


            Non-Carbonic                                           1.56 (1.00, 2.47) [61/19449 29/11620]




                  Overall                                          1.80 (1.24, 2.66) [104/27863 38/16029]




                            0.1   0.3       1        3.2   10

                                        Odds Ratio
                                                                *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 7: Suicidal Behavior or Ideation Odds Ratio Estimates by Drug Group, Placebo-
Controlled Trials.




                                                                                                               32
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 34 of 46




7.2 Trial Indication
Figure 8 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by indication group. The epilepsy indication group had the highest
estimated odds ratio and its confidence interval did not contain the value of 1. The odds
ratios for the other two indication groups, psychiatric and other, were greater than 1, but
the lower end of the confidence intervals were slightly below 1.




      Indication Class                                             OR (95% CI) [Sample Sizes]*


               Epileps y                                           3.53 (1.28, 12.10) [23/6787 4/4155]



             Ps ychiatric                                          1.51 (0.95, 2.45) [57/7025 27/4771]



                  Other                                            1.87 (0.81, 4.76) [24/14051 7/7103]




                 Overall                                           1.80 (1.24, 2.66) [104/27863 38/16029]




                            0.1   0.3       1        3.2   10

                                        Odds Ratio
                                                                *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 8: Suicidal Behavior or Ideation Odds Ratio Estimates by Indication Group,
Placebo-Controlled Trials.




                                                                                                               33
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 35 of 46




Although the estimated odds ratio was higher in the epilepsy indication group than in the
psychiatric indication group, the excess drug risks in the two indication groups were
similar. Table 16 gives estimates of the placebo and drug event rates and the risk
difference risk by indication group. The psychiatric indication group had a notably higher
placebo event rate than the other indication groups and had the highest risk difference,
whereas, the epilepsy indication group had the highest odds ratio.


Table 16: Placebo and Drug Suicidal Behavior or Ideation Event Rates and Risk
Difference by Indication, Placebo-Controlled Trials.
                                                                           Risk
                                      Placebo                          Difference:
                                    Patients with    Drug Patients   Additional Drug
                                      Events          with Events     Patients with
                                     Per 1000          Per 1000        Events Per
Indication          Odds Ratio        Patients         Patients       1000 Patients        Risk Ratio
 Epilepsy              3.53              1.0              3.4              2.4                3.5
 Psychiatric           1.51              5.7              8.5              2.9                1.5
 Other                 1.87              1.0              1.8              0.9                1.9
 Total                 1.80              2.4              4.3              1.9                1.8
Notes: Drug event rate was calculated as the product of the placebo event rate and
estimated odds ratio. Risk difference was calculated as the drug event rate minus the
placebo event rate. Risk ratio was calculated as the ratio of the drug event rate to the
placebo event rate.




                                                                                            34
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 36 of 46




7.3   Demographics

7.3.1 Age
Figure 9 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by age group. For all but the 25 – 30 age group, the estimated odds
ratios were greater than 1. Only the 31 – 64 age group had a confidence interval that did
not contain the value of 1. However, the other age-groups had smaller numbers of
patients resulting in wider confidence intervals. Overall, there was no clear pattern across
age groups.




           Age Class                                             OR (95% CI) [Sample Sizes]*

                5 to 17                                          4.26 (0.58, 102.10) [5/1292 1/1119]


               18 to 24                                          2.65 (0.90, 9.45) [15/2126 4/1296]


               25 to 30                                          0.82 (0.31, 2.27) [11/2633 8/1568]


               31 to 64                                          1.78 (1.13, 2.89) [70/18157 25/9990]


             65 and Up                                           inf (0.23, inf) [3/3653 0/2056]




                Overall                                          1.80 (1.24, 2.66) [104/27863 38/16029]




                          0.1   0.3       1        3.2   10

                                      Odds Ratio
                                                              *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 9: Suicidal Behavior or Ideation Odds Ratio Estimates by Age Group, Placebo-
Controlled Trials.




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  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 37 of 46




7.3.2 Gender
Figure 10 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation trials by gender. For both females and males, the estimated odds
ratios were greater than 1. The confidence interval for males did not contain the value of
1, whereas the confidence interval for females did contain the value of 1.




             Gender                                              OR (95% CI) [Sample Sizes]*



              Fem ale                                            1.39 (0.85, 2.35) [50/15586 23/8686]




                 Male                                            2.44 (1.38, 4.51) [54/12276 15/7343]




               Overall                                           1.80 (1.24, 2.66) [104/27863 38/16029]




                          0.1   0.3       1        3.2   10

                                      Odds Ratio
                                                              *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 10: Suicidal Behavior or Ideation Odds Ratio Estimates by Gender, Placebo-
Controlled Trials.




                                                                                                             36
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 38 of 46




7.3.3 Race
Figure 11 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by race. For both the white and other subgroups, the estimated odds
ratios were greater than 1. The estimate for the other subgroup was higher than that for
white subgroup. The confidence interval for the white subgroup did not contain the value
of 1. The confidence interval for other subgroup contained the value of 1, but because of
the small number of patients in this group, the confidence interval was wide.




               Race                                             OR (95% CI) [Sample Sizes]*



                White                                           1.78 (1.19, 2.70) [89/22302 33/12541]




                Other                                           2.23 (0.73, 8.12) [13/3588 4/2264]




               Overall                                          1.80 (1.24, 2.66) [104/27863 38/16029]




                         0.1   0.3       1        3.2   10

                                     Odds Ratio
                                                             *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 11: Suicidal Behavior or Ideation Odds Ratio Estimates by Race Group, Placebo-
Controlled Trials.




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  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 39 of 46




7.3.4 Setting
Figure 12 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by setting. For both settings, the estimated odds ratios were greater
than 1. The confidence interval for outpatient setting did not contain the value of 1. The
confidence interval for the inpatient or both setting contained the value of 1, but because
of the small number of patients in this group, the confidence interval was very wide.




                Setting                                             OR (95% CI) [Sample Sizes]*



         Inpatient or Both                                          1.42 (0.40, 5.62) [7/1893 4/1411]




               Outpatient                                           1.84 (1.24, 2.78) [97/25970 34/14618]




                  Overall                                           1.80 (1.24, 2.66) [104/27863 38/16029]




                             0.1   0.3       1        3.2   10

                                         Odds Ratio
                                                                 *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 12: Suicidal Behavior or Ideation Odds Ratio Estimates by Setting, Placebo-
Controlled Trials.




                                                                                                                38
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 40 of 46




7.3.5 Location
Figure 13 gives the estimated odds ratios and 95% confidence intervals for Suicidal
Behavior or Ideation by location. For both North America and Non-North America
locations, the estimated odds ratios were greater than 1. However, the estimate for the
Non-North America location was notably larger. The confidence interval for Non-North
America location did not contain the value of 1. The lower end of the confidence interval
for North America location was slightly below the value of 1.




              Location                                             OR (95% CI) [Sample Sizes]*



          North Am erican                                          1.38 (0.90, 2.13) [68/16841 33/9941]




      Non-North Am erican                                          4.53 (1.86, 13.18) [36/11022 5/6088]




                  Overall                                          1.80 (1.24, 2.66) [104/27863 38/16029]




                            0.1   0.3       1        3.2   10

                                        Odds Ratio
                                                                *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 13: Suicidal Behavior or Ideation Odds Ratio Estimates by Location, Placebo-
Controlled Trials.




                                                                                                               39
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 41 of 46




7.3.6 Comparator Type
Figure 14 gives the estimated overall odds ratios and 95% confidence intervals for
Suicidal Behavior or Ideation for placebo-controlled, low-dose-controlled trials, and all
trials. The estimated odds ratio was 1.83 (95% CI: 1.26, 2.69) for all controlled trials.
This result was very similar to the result for placebo-controlled trial, since most trials
were placebo-controlled. The estimated odds ratio for low-dose-controlled trials was 3.09
(95% CI: 0.33, 81.51). The large confidence interval indicates that the result was not
precise.




              Control                                             OR (95% CI) [Sample Sizes]*



               Placebo                                            1.80 (1.24, 2.66) [104/27863 38/16029]




            Low-Dos e                                             3.09 (0.33, 81.51) [3/788 1/799]




             All Control                                          1.83 (1.26, 2.69) [107/28651 39/16828]




                           0.1   0.3       1        3.2   10

                                       Odds Ratio
                                                               *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 14: Suicidal Behavior or Ideation Odds Ratio Estimates, Placebo-Controlled and
Low-Dose-Controlled Trials.



8 POST-HOC ANALYSES
In addition to the deviations and additions to the SAP noted above, there were analyses
performed not specified in the SAP and performed after reviewing the initial analysis.

8.1 Lamotrigine Additional Data
On November 21, 2007, the sponsor of lamotrigine submitted additional data for the
drug. The submission included (1) data from three trials that were ongoing at the time of
the data requests to the sponsors and (2) 4 additional suicidality events from trials


                                                                                                              40
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 42 of 46




previously submitted. As stated in Section 3.1.1, in the July 2005 letter to the sponsors,
FDA stated that ongoing trials should not be submitted. FDA does not know if there are
trials for other drugs that have been completed since July 2005. In the interests of
adhering to FDA stated intentions, the additional lamotrigine data was not part of the
primary analysis dataset. However, as a sensitivity analysis, the additional data was
included.

The three additional lamotrigine trials were placebo-controlled trials and otherwise met
the inclusion criteria for the analysis. These trials had a total of 9 Suicidal Behavior or
Ideation events. Of these events, 1 was in a drug arm and 8 were in placebo arms.

Among the 4 additional events from trials previously submitted, 3 were in the drug arm
and 1 was in the placebo arm.

Figure 15 gives the estimated odds ratio and 95% confidence intervals for Suicidal
Behavior or Ideation by drug and overall with the additional lamotrigine data. The
estimated overall rate ratio was 1.55 (95% CI: 1.09, 2.21). The estimate was lower than
the estimate from the primary analysis, but statistically significant as well.




                  Drug                                            OR (95% CI) [Sample Sizes]*
         Carbam azepine                                           0.65 (0.08, 4.42) [2/252 3/250]

              Divalproex                                          0.72 (0.29, 1.84) [11/1327 9/992]

             Felbam ate                                           ND. (ND., ND.) [0/170 0/170]

            Gabapentin                                            1.57 (0.12, 47.66) [2/2903 1/2029]

            Lam otrigine                                          1.32 (0.75, 2.38) [31/3219 20/2422]

          Levetiracetam                                           2.75 (0.62, 19.36) [8/2554 2/1549]

          Oxcarbazepine                                           1.91 (0.15, 56.33) [2/1342 1/827]

             Pregabalin                                           1.88 (0.41, 13.58) [7/7201 2/3125]

              Tiagabine                                           inf (0.20, inf) [2/835 0/608]

             Topiram ate                                          2.53 (1.21, 5.85) [40/7742 8/3971]

            Zonis am ide                                          2.52 (0.26, 67.94) [3/672 1/438]



                 Overall                                          1.55 (1.09, 2.21) [108/28217 47/16381]




                           0.1   0.3       1        3.2   10

                                       Odds Ratio
                                                               *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 15: Suicidal Behavior or Ideation Odds Ratio Estimates with Additional
Lamotrigine Data, Placebo-Controlled Trials.




                                                                                                              41
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 43 of 46




8.2 Alternative Age Subgroups
In order to further explore the possibility of an interaction of age with the drug effect, a
finer partition of the age subgroups was analyzed post-hoc. The 31 to 64 years age
subgroup, which was part of the SAP, was partitioned into 4 age subgroups. Figure 16
gives the estimated odds ratios and 95% confidence intervals for Suicidal Behavior or
Ideation by the post-hoc age groups. As was the case with the prospectively defined age
subgroups, there was no clear pattern across age groups.




           Age Class                                              OR (95% CI) [Sample Sizes]*
                5 to 17                                           4.26 (0.58, 102.10) [5/1292 1/1119]

               18 to 24                                           2.65 (0.90, 9.45) [15/2126 4/1296]

               25 to 30                                           0.82 (0.31, 2.27) [11/2633 8/1568]

               31 to 34                                           1.43 (0.53, 4.23) [15/1994 6/1204]

               35 to 44                                           1.28 (0.64, 2.64) [24/5978 13/3350]

               45 to 54                                           4.06 (1.32, 17.25) [23/5899 3/3196]

               55 to 64                                           1.53 (0.39, 7.46) [8/4286 3/2240]

             65 and Up                                            inf (0.23, inf) [3/3653 0/2056]




                Overall                                           1.80 (1.24, 2.66) [104/27863 38/16029]




                          0.1    0.3       1        3.2   10

                                       Odds Ratio
                                                               *[Treat. Events /Treat. n Plac. Events /Placebo n]

Figure 16: Suicidal Behavior or Ideation Odds Ratio Estimates by Post-Hoc Age Group,
Placebo-Controlled Trials.



9 SUMMARY AND CONCLUSIONS
9.1 Review Summary
This reviewed analyzed data from 210 placebo-controlled and low-dose-controlled trials
of antiepileptic drugs. The trials came from 11 different antiepileptic drugs. The
indications for the trials included epilepsy, psychiatric disorders, and other indications.
The primary focus of the review was on the 199 placebo-controlled trials. In these trials,


                                                                                                              42
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 44 of 46




there were 27,863 patients in the drug arms and 16,029 patients in the placebo arms that
met the analysis criteria of being at least 5 years of age.

There were no statistical differences among the baseline characteristics of the drug and
placebo patients for age, gender, race, and location. The placebo patients had a
statistically lower treatment discontinuation rate than the drug patients. Likewise, the
placebo patients had statistically higher treatment duration (77 days for placebo versus 73
days for drug).

There were 4 completed suicides among drug patients and none among placebo patients.
The majority of suicidality events for both drug and placebo patients were Suicidal
Ideation. The second most frequent type of event was Suicide Attempt. Without adjusting
for differences among trials, 0.37% of the drug patients had a Suicidal Behavior or
Ideation event versus 0.24% of the placebo patients.

A meta-analysis was conducted to estimate an overall treatment effect for drug versus
placebo patients and for various subgroups. The meta-analysis controlled for differences
in background rates of events among the trials.

Overall, the drugs were associated with statistically significant increased the risk of
Suicidal Behavior or Ideation relative to placebo. The estimated overall odds ratio was
1.80 (95% CI: 1.24, 2.66). There was consistency among the results for individual drugs.
The estimated odds ratio was greater than 1 for 8 drugs and less than 1 for 2 drugs. The
estimated odds ratio was greater for the Suicidal Behavior endpoint than the Suicidal
Ideation endpoint.

Several sensitivity analyses were performed to examine the robustness of the result to the
sparseness of the events, heterogeneity of the treatment effect, and differences in
treatment duration between the placebo and drug arms. All the sensitivity analyses
produced very similar results to the results of primary analysis for both the overall odds
ratio and the individual drug odds ratios.

The higher risk of events for the drug-treated patients was observed as early as 1 week
from initiating treatment until at least 24 weeks. After 24 weeks, it was not possible to
draw conclusions due to the scarcity of data beyond 24 weeks.

Several subgroups were considered. Indication and location appeared to have the largest
effects among the subgroups considered. The epilepsy indication subgroup had the largest
estimated odds ratio compared to the psychiatric indication subgroup and the other
indication subgroup. However, the psychiatric indication subgroup had the largest
placebo risk of events. The result does not appear to be driven by particular drugs, since
several drugs contributed comparable numbers of patients to the epilepsy subgroup. The
estimated odds ratio for the Non-North American subgroup was notably larger than that
of North American subgroup.




                                                                                            43
  Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 45 of 46




There was no obvious pattern in the risk with the age subgroups. For 4 of the 5 age
subgroups, the estimated odds ratios were greater than 1. Likewise, there were no patterns
in the risks for subgroups based on gender, race, setting, and prespecified drug groups.

9.2 Conclusions
In conclusion, antiepileptic drugs are associated with increased risk of suicidality relative
to placebo in randomized placebo-controlled trials. The effect appears consistent among
the group of 11 drugs. There are 1.9 per 1000 (95% CI: 0.6, 3.9) more antiepileptic drug
patients than placebo patients who experience Suicidal Behavior or Ideation. In terms of
adjusted risk estimates for the treatment groups, 0.43% of the drug patients experience
Suicidal Behavior or Ideation compared to 0.24% of the placebo patients.

There is no obvious subgroup of patients to which the increased risk is specifically
attributed. The increased risk was seen in almost all subgroups, although epileptic and
Non-North American patients may have higher relative risks.

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       Case 1:04-cv-10981-PBS Document 1658-8 Filed 02/06/09 Page 46 of 46



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